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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             )
                                       )
      v.                               ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                                   JOINT STATUS REPORT

       Pursuant to the Court’s September 27, 2018, minute order, the parties write to inform the

Court that settlement discussions are ongoing. Accordingly, the parties respectfully request that

the Court continue to hold in abeyance any ruling on Petitioner’s pending Motion for Preliminary

Injunction for an additional fourteen days while the parties continue these discussions. If the

Court grants this request, the parties will inform the Court on or before October 24 whether an

agreement has been reached, whether an agreement has not been reached and the parties have not

agreed that the motion should continue to be held in abeyance, or whether both parties jointly

request additional time.

October 10, 2018                                    Respectfully submitted,

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